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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 22-9203 MEMF (KS)                                        Date: February 28, 2023
 Title        Clinton Brown v. Clark R. Taylor




 Present: The Honorable:       Karen L. Stevenson, Chief Magistrate Judge


                    Gay Roberson                                             N/A
                    Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Petitioner: N/A           Attorneys Present for Respondent: N/A

 Proceedings: (IN CHAMBERS) ORDER DENYING PLAINTIFF’S MOTION TO
 CORRECT DOCKET [DKT. NO. 32]

         The Court is in receipt of Plaintiff’s Motion to correct the docket. (Dkt. No. 32.) The
 Motion is DENIED. The filing dates reflected in the “Date Filed” column on the Court’s CM-
 ECF electronic filing system make clear the chronological order of all filings in this case, and
 Plaintiff provides no authority to show or suggest that anything more is required to satisfy Federal
 Rule of Civil Procedure 79(a)(2). Plaintiff’s additional request under 28 U.S.C. § 751(e) is rejected
 as frivolous.

           IT IS SO ORDERED.



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                                                                     Initials of Preparer   gr




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